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                                                                                     United States District Court
                                                                                       Southern District of Texas
                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS                              ENTERED
                                  BROWNSVILLE DIVISION                                December 19, 2022
                                                                                       Nathan Ochsner, Clerk
STATE OF TEXAS, et al. ,                          §
           Plaintiffs,                            §
                                                  §
V.                                                §          Civil Action No. 1: 18-CV-00068
                                                  §
UNITED STATES OF AMERICA, et al. ,                §
          Defendants,                             §
                                                  §
and                                               §
                                                  §
KARLA PEREZ, et al.,                              §
                                                  §
STATE OF NEW JERSEY,                              §
           Defendant-Intervenors.                 §

     ORDER GRANTING THE PARTIES' JOINT PROPOSED SCHEDULING ORDER

        Wherefore, at the request of the Parties, it is hereby ORDERED that the following

deadlines are GRANTED:

        December 16, 2022:    Deadline for Plaintiffs to file a supplemental complaint.

        January 31 , 2023:    Deadline for Plaintiffs to file a motion for summary judgment.

        March 2, 2023:        Deadline for Federal Defendants and Defendant-Intervenors to file
                              briefs in opposition of Plaintiffs' motion for summary judgment
                              and file any cross-motions for summary judgment.

        March 16, 2023 :      Deadline for Plaintiffs to file a reply in support of their motion for
                              summary judgment.

        March 30, 2023:       Deadline to file responses to any cross-motions for summary
                              judgment.

        April 6, 2023 :       Deadline to file replies in support of cross-motions for summary
                              judgment.

        IT IS FURTHER ORDERED that any response deadline to Plaintiffs' supplemental

complaint is stayed pending resolution of any summary judgment motions.

        Signed this 15th day of December, 2022.


                                                      Andrew S. Hanen
                                                      United States District Judge
